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AO91 (Rev. 12/03) Criminal Complaint                                                         AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:18-po-1361
Darwin Alexis BRAVO-De Leon
A215 582 492 Guatemala




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about          May 31, 2018           in                 Cameron                  County, in

the                                         Southern District Of Texas                                           defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                          1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Brownsville, Texas on May 31, 2018. The defendant is a citizen of Guatemala who entered
the United States illegally by swimming across the Rio Grande River near Brownsville, Texas on May 31, 2018 thus avoiding
immigration inspection.


Defendant had $150.00 Guatemalan Quetzal in his possession at time of arrest.

I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.

Continued on the attached sheet and made a part of this complaint:                 Yes             No


                                                                              /S/ Rodriguez, Julio M. Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Rodriguez, Julio M.        Border Patrol Agent
                                                                              Printed Name of Complainant
Sworn to before me and signed in my presence,

June 01, 2018                                                          at     Brownsville, Texas
Date                                                                          City/State


Ronald Morgan                          U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
